Case 1:19-cv-20592-JEM Document 55 Entered on FLSD Docket 10/13/2020 Page 1 of 6



                             UN ITED STATES D ISTRICT CO U RT
                             SOU TH ERN D ISTRICT OF FLO RID A
                                     sllM llD IV ISION

                      CASE NO:1:l9-CV-20592->     TM Z/OTM O-M W S


 VASSILIOS KUKORINIS,on behalfofhim self                           FILED BY                D,C,
 andthosesimilarly situated,
                                                                        02T 13 2(120
         l3laintiF,                                                      ANGqI
                                                                             .A E.NOBLE
                                                                        cl
                                                                         z rKtJ,
                                                                               I
                                                                               .
                                                                               L.(
                                                                               q )1:'
                                                                                    rCT,
                                                                       s.!
                                                                         7.Qqr'Lh.-:-r.L4UD.   .
 5W.

 W ALM ART,m C.,aDelaware
 Corporation

         D efendants.

   NOTICE OF OBJECTION BY CLASS M EM BER.STEVEN F.HELAND:NOTICE OF
           INTENT TO ATTEND TH E FM RN ESS HEARING ON ZOOM

         Classmember/actualObjector,inprose,STEVEN F.HELFAND,Ighereafter

  III-IELFAI
           ND''jrespectfullyfilesthisObjection.
         HELFAN D previously appeared attheCourt'sstamsconferencewhich issetforOctober

  7,2020.

          Theproposedsettlementcapsreliefatjustshy oftenmillion dollars.See,Settlement
       Agreement,!6.1gûlnnoeventwillthetotalpaymentsby Walmartplzrsuanttotltis
       settlementexceedtheCeilingof$9a500,000.00.'').çûReasonableAttorneys'Fees,Costs,and
       Expenses.Settlem entClassCounselshallapply tothe Courtforan award ofreasonable


  1Helfandisnotanordinaty pm se,litigant,having graduatedf'
                                                          rom the University ofM ami,
  Schooltl
         /.1.lw inDecember1999.ObjectorwasadmittedtotheStateBarofcalforniafor
  neadytwentyyears.W lzilenolongereligibletopracticeanddisabled,Objectordisclosesthis
  up-gonttotheCourtbecauselessened pleading stnndardsfoïpro selitigantsgenerally,are
  plainly inapplicablehere.

  NoticeofAppearance                      Page1of6                   SubmittedbyObjector
Case 1:19-cv-20592-JEM Document 55 Entered on FLSD Docket 10/13/2020 Page 2 of 6



     A ttom eys'Fees,Costs,and Expensesthatshallcotm tagainstthe Floon'' See,Settlem ent

     Agreement,!(6.2.ThereisadiscormectbetweentheFloorandtheproposedfeeaward.The
     take-rate m ustbe M certained to determ ine w hetherthe proposed fee aw ard isreasonable.

     Asaninitialmatter,HELFAND submitsthathisobjectionmustfirstbesubmittedto
     M ichelle Yoslzida to m ediate thism atter in the firstinstance,atleastaccording to the

     SettlementAgreement.Only ifM s.Yoshidacannotresolvetheobjection,cantheobjection
     evenbesubmittedforfinalapproval.Objectoragreesthismakesnosenseandisconh'aly to
     R ule 23. How ever,itisw hatthe Settlem entA greem ent,presum ably,requires. Settlem ent

     Agreement,!25.8.Thepartieshavenotmettheirownpre-conditionsfortriggeringa

     controversywiththeCourt.SettlementAgreement,!25.8.
  3. The Settlem entA greem entprovides:116.2.2.R easonable Service Aw ard.Settlem entClass

     Cotm selshallapply to the Courtfora ServiceAward thatshallcotmtagainsttheFloor.

     W alm arttakesno position on the am ountto be soughtby Settlem entClœss Counselfor a

     SerdceAward,butdoesnotobjecttoareasonableServiceAwardsoughtin accordancewith
     thisA greem ent.The denialby the Courtof any such application shallnotaFectthe validity

     and enforceability ofthe Settlem entand shallnotbe a basis foranyone to seek to void the

      Settlem ent.''

  4. Classcounselisobligated to apply fora fee award even though such aw ardsare notlaw ful

     pursuantto binding circuitprecedent. Johnson u NPAS Sols.LL C,2020 U .S.A pp.LEX IS

     29682,28Fla.L.W eekly Fed.C 1915,             F.3d   -   ,   2020 W L 5553312.Thisprovision

     isobviously the resultofacontracm alprovision between ClassCounseland thenam ed




  NoticeofApperance                          Page2of6                         SubmittedbyObjector
Case 1:19-cv-20592-JEM Document 55 Entered on FLSD Docket 10/13/2020 Page 3 of 6



     representative. No aw ard can be m ade to the nam ed representative. Buttlais is only the start

     ofthe analysis.

     W hatwasprom ised to the nam ed representativeinlightofthe illegality oftheunderlying

     prom ise,confirmed in the Settlem ent? One CircuitCourthasalready confirm ed thatillegal

     incentivepaymentsprom ised totlzenamedrepresentative restlltin theforfeiture ofClass

     C otm sel'sattom ey's fees. Such a resultm ay be onerous here,butw e need m ore inform ation.

     Rodriguezu Jfzr
                   cu
                    çfPubl'
                          g Corp.,563 F.3d 948,2009U .S.App.LEXIS 8680,2009-1Trade

     Cas.(CCH)P76,614gAtthestartofthelitigation,severalclassrepresentativessigned
     retaineragreem entsthatrequired class cotm selto requestincentive aw ardsthatincreased on

     a sliding scale a-
                      sthe class'sm onetary recovery increased. The class representativesthus did

     notadequatelyrepresenttheclass.l.See,Rodriguez11,688F.3dat656-657.
     HelfandwasaparticipantilltheRodrlkuezcase.Itisobvioushereintlaiscasethennmed

     representativecannotbean adequaterepresentative.He wqsproznised money;then madean

     uninvited filingto theCotu'tboth classcounsçland W alm artareattempting to seal.The

     declaration m ustbe transparentunderthese circum stances. The preservation ofpublic trust

     bothi.
          nthescnlpulousadxninistrationofjusticeandintheintegrityofthebarisparnmount.
     ltcnnnotbe achieved in this instance w hen there isno transparency.

     The utlerlack oftransparency isa concession ofinadequacy,certainly by thenam ed

     representative;butalso possible,andregrettably by classcounsel.Asaresult,the fees

     payableto Classcounselshould bestruck orreduced aswastheresultin Rodriguez.




  NoticeofAppearance                        Page3of6                        Submitted by Objector
    Case 1:19-cv-20592-JEM Document 55 Entered on FLSD Docket 10/13/2020 Page 4 of 6



         ln factathe Settlem entA v eem entis internally inconsistentand cnnnotbe approved. ltstates

          atSettlementAgreement,! 15,EGDUTIES OF THE PARTIESFOLLOW ING

          PRELIM INARY COURTAPPROVAL (...j
      9. 15.1 Follow ing prelim inary approvalby the Cotu'tofthe Settlem ent,and no laterthan the

          filing ofthemotion forfinalapproval,Settlem entClassCotm selwillsubm itaproposed

          FinalJudgm entand OrderefDism issalsubstantially sim ilartotheform oftheFinal

         Judgm entand OrderofD isnlissalattached hereto asExhibitE.Theproposed FinalJudgm ent

          andOrderofDismissalshall:''(includingj

          15.1.5.ApprovetheServiceAward (.q
      11.N otably,the Settlem entA greem entdoes notprovide a curative instnzction asto Settlem ent

          Agreement,! 15.1.5.Signilicantly,SedlementAgreement,! 18,doesnotprovideany
          reliefforthe voiding ofthe incentive aw ard. The settlem entagreem entm ustbe approved in

          111,andthemoditk ation andintegration clausets)donotallow reliefforfailuretoapprove

         theillegalincentivepaymenttothenamerepresentative.SettlementAgreement,!25.2;
          25.3.Theagreementstates: EIVOIDING THE AGREEM FNT L118.1lntheeventthatthis
          Settlem entisnotapproved,orif forany reason the Setllem entEft
                                                                       kctive D ate doesnotocctm

         the SettlementAgreem entshallbedeem ed ntzll,void,and unee orceableand shallnotbe

          used norshallitbe adm issible in any subsequentproceedingseither in this Courtorin any
E
          otherjudicial,arbitral,administrative,investigative,orothercotut tribunal,forum,orother
          proceeding,orotherlitigationagainstWalmarqandthePal-tiesshallreturntotheirrespective
         positionspriortotheCourt'sconsiderationofthisSettlement.(118.2 ln theeventthatthe
          CourtdoesnotapprovetheAttorneys'Fees,Costs,andExpensesinthe nm otmtrequested by


     NoticeofAppearance                        Page4of6                       SubmittedbyObjector
Case 1:19-cv-20592-JEM Document 55 Entered on FLSD Docket 10/13/2020 Page 5 of 6



     Settlem entClassCotm sel,orin the eventthattheA ttorneys'Fees,Costs,and Expenses

     requested by Settlem entClass Counselisreduced,thatfm ding shallnotbe a basis for

     rendezing the entire Settlem entA greem entnull,void,orunenfbrceable.Settlem entClass

     Colm selretainstheirrightto appealany decision by theCourtregarding theAttorneys'Fees,

     Costs7and Expenses.''

  12.The class action settlem entconfil'm sitcnnnotbe certified forsettlem entpurposes. The

     pat-tiesstipulated'
                       .IiGiven the dix cultiesin ascertaining individualSettlem entClass

     Members,thePartiesagreethatpublicationnotice(includingtlaroughtheintemet)isthebest

     practicablenoticeofthisSettlement''See,SettlementAgreement,!7.1.Thisissimplynot
     acertifiableclassaction dueto the inability to identify classm em bers.Briseno u ConAgra

     Foods,Inc.,844F.3d 1121,2017U.S.APP.LEM S20,96Fed.R.Seoc3d(Callaghan)762,
     2017 W L 24618. Thisstipulation wasevidently m adein an instanceofnaisguided candor.

  13.Internetnotice isinadequateasam atteroflaw. Individualized notice can beprovided,but

     W almartdeem sthistoo expensive.W hy notsend noticeto allregisteredpersonsfor

     walm altcom ? Hasthisbeen done? M oreinformation should bedisclosed astonoticeasits

     efectualness. This sortofdisclosm e w ould be easy and inexpensive. W alm artknow sw ho

     is a classm em berbased on the online orders alone. ln person shoppersw ould getthe benefit

     ofpublication notice.

  14.TheObjectionprocessisnonsensical.HF.
                                        LFAND disclosesheisaprolifk classaction

     objector.Somecourt'shavelabelledhim aserialorprofessionalobjector.However,
     HELFAND isstillaclassmember.Anyobjectionsarepublicrecordsandequallyavailable
     to theparties. Therequirem entthatmaterialsbeprovided isunduly btlrdensom e.M oreover,


  NoticeofAppearance                       Page5of6                        SubmittedbyObjector
Case 1:19-cv-20592-JEM Document 55 Entered on FLSD Docket 10/13/2020 Page 6 of 6



     H ELFAN D suffered a casualty thatcaused the lossofallhispaperwork;he sim ply cnnnot

     com ply w ith this requirem entbecause he hmsno m aterials in hiscustody,controland

     possession.

  15.Thesetllementreleaseisover-broad.SettlementAgreementa!r13.1.Itcouldbeconstrued
     torelemseclaimsforemotionaldiskessandpersonalinjury.Thereleaseevengoessofaras
     toreleasetttmanticipated''claims.SettlementAgreement,! 13.3.Tlzistmderscoresthe
     problem. W hatarethey?

  16.Paragraph 22.1 ofthe Settlem entA greem entisillegal.

  October13,2020                            /S/Steven F.Helfand '
                                            Class M ember
  STEV EN F.IIELFAN D
  1400 SW I37TH AVEN UE,F 112
  PEM BROK E PIN ES,FL 33027
  786.676.1018
  I4OOSTEVEN.HELFAND@ GM M L.COM
                                CERTIFICATE OF SERVICE

        lHEREBY CERTIFY thaton this 13th day ofOctober,2020,thatatrue and correctcopy
  oftheforegoingwasemailed and served on al1counqelforpartiesappe ' in this 'n.

  October4,2020                             /S/Steven F.Helfand        '
                                            ClassM em ber                                    '




  NoticeofAppearance                      Page6of6                         Submittedby Objector
